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FORM nhgnrlp (Rev. 06/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Northern District of Florida
                                             Pensacola Division

In Re: Teena Ruth McKinney                                       Bankruptcy Case No.: 19−30022−KKS
       aka Teena R. McKinney
       SSN/ITIN: xxx−xx−9234
        Debtor
                                                                 Chapter: 7
                                                                 Judge: Karen K. Specie


                                Notice of Rescheduled Non Evidentiary Hearing

    PLEASE TAKE NOTICE that a hearing to consider and act upon the following will be held at Courtroom 1, via
Video Conference at, 100 N. Palafox Street, Pensacola, FL, on March 27, 2019, at 10:00 AM, Central Time. Parties
may appear at the following alternate location: Tallahassee − U.S. Bankruptcy Courthouse, 110 E. Park Ave.,
Tallahassee, FL.

        12 − Motion/Notice to Sell or Lease Property under Section 363(b) filed by Sherry Chancellor on
        behalf of Sherry Chancellor. ECF Calculated Deadline: 02/15/2019. Note: See Fed. R. Bankr. P.
        9006(f). Three additional days may be allowed for qualifying parties. (Chancellor, Sherry)

Dated: March 7, 2019                                     FOR THE COURT
                                                         Traci E. Abrams, Clerk of Court
                                                         110 E. Park Ave., Ste. 100
                                                         Tallahassee, FL 32301


SERVICE: Service by the Court pursuant to applicable Rules.
